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                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION
__________________________________________
                                           )
STATE OF UTAH, et al.,                     )
                                           )
                          Plaintiffs,      )
      v.                                   )    No. 2:23-cv-16
                                           )
JULIE A. SU, et al.,                       )
                                           )
                          Defendants.      )
__________________________________________)



                     DEFENDANTS’ OPPOSITION TO
           PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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                                         INTRODUCTION

        Congress enacted the Employee Retirement Income Security Act of 1974 (ERISA) to protect

the financial stability and hard-earned retirement savings of working Americans. The Department of

Labor (DOL or Department) has long been charged with promulgating regulations to carry out the

statute in furtherance of these goals. The Rule challenged here supports Congress’s aims by rescinding

two rules that risked discouraging plan fiduciaries from selecting investments that might be in the best

financial interests of plan participants and beneficiaries. Those prior rules created a chilling effect on

fiduciaries’ consideration of the economic effects of environmental, social, and governance (ESG)

factors—even where such factors were material to financial performance. The current Rule removes

this thumb on the scale against consideration of ESG factors and confirms fiduciaries’ ability to

consider any factor they reasonably conclude is relevant to a risk and return analysis. See Final Rule,

Prudence and Loyalty in Selecting Plan Investments and Exercising Shareholder Rights, 87 Fed. Reg.

73822 (Dec. 1, 2022) (Investment Duties Rule or Rule). In doing so, the Rule places ERISA plan

participants and beneficiaries on equal footing with other market participants by allowing them to take

advantage of economic opportunities presented by, and protect against economic risks posed by, ESG

factors. Critically, however, the Rule does not require fiduciaries to take ESG factors into account

where they prudently decide not to—and it certainly does not mandate ESG investing.

        The Rule also reaffirms, consistent with ERISA’s statutory text, that fiduciaries’ exclusive

purpose must be to secure financial benefits for plan participants and beneficiaries, and that this

purpose may never be subordinated to unrelated goals. Consistent with this requirement, the Rule

restates the Department’s position—which has remained unswerving for nearly three decades, across

five presidential administrations, and even in the rules it rescinds—that where two investment courses

of action are economically equivalent, ERISA does not instruct fiduciaries as to how to choose

between them, and so a fiduciary may look to collateral benefits in deciding how to break the tie. The

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tiebreaker standard explicitly prohibits fiduciaries from considering collateral benefits other than

investment returns in selecting investments except where the competing options equally serve the

financial interests of the plan; it expressly forbids fiduciaries from sacrificing investment return or

taking on additional risk to promote collateral goals. The updated regulation further eliminates

onerous paperwork requirements that risked discouraging fiduciaries from making certain types of

economically prudent investments, including those based on a consideration of the economic effects

of ESG factors, or exercising shareholder rights in certain ways, even where they serve the financial

interests of participants and beneficiaries.

        This lawsuit rests on a false premise that the Rule permits fiduciaries to pursue non-financial

goals in violation of their statutory duties under ERISA. Not so. A proper reading of the Rule reveals

this lawsuit to be a thinly veiled attempt to roll back the Rule’s placement of the economic effects of

ESG considerations on an equal footing with other risk-return factors. In that regard, Plaintiffs cannot

meet their burden to obtain the extraordinary remedy they seek here. At the outset, Plaintiffs cannot

demonstrate irreparable harm—in fact, the majority of Plaintiffs lack standing to bring this lawsuit.

The Plaintiff States’ main theory of standing, which depends on speculative and general allegations of

lost tax revenue, was recently and squarely rejected by the Fifth Circuit. Moreover, any alleged harm

to any Plaintiff due to reduced investment in the fossil fuel industry would be caused by fiduciaries’

independent exercise of their statutory duties in selecting investments, not by the Rule. Liberty

Oilfield Services and Western Energy Alliance have additionally alleged they will undertake voluntary,

unspecified additional “monitoring” of their ERISA fiduciaries; any such self-inflicted costs cannot

constitute irreparable harm. Moreover, Plaintiffs’ unexplained delay in seeking emergency injunctive

relief—a full three months after the Rule was signed, and nearly a month after its effective date—

alone counsels against finding irreparable harm.

        Plaintiffs also are unlikely to succeed on the merits. The Department was authorized to

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promulgate the Rule by a broad and deliberate delegation of rulemaking authority with respect to

ERISA; the tiebreaker provision fills a gap in the statute and is in harmony with its text. The major

questions doctrine is inapplicable here because the Rule addresses an area that DOL has regulated for

over forty years, is consistent with the Department’s decades-old positions, and implements clarifying

guidelines rather than imposing any mandatory action. Finally, the Rule is neither arbitrary nor

capricious. It is the product of reasoned decisionmaking reflecting the appropriate consideration of

alternatives and of all important aspects of the problem at issue. Plaintiffs’ criticisms of the Rule

amount to policy disagreements with DOL’s conclusions, but this Court may not substitute its

judgment for that of the agency by ruling on that basis.

        Finally, the public interest here weighs heavily in the government’s favor. The Rule protects

ERISA plan participants and beneficiaries’ retirement savings by confirming that fiduciaries’

investment selections must be for the exclusive purpose of providing financial benefits to plan

participants and beneficiaries, and by clarifying that they may consider all appropriate factors relevant

to a risk-return analysis in selecting investments. The Rule also makes clear that fiduciaries must act

consistent with these principles when exercising shareholder rights.

        The Court should deny Plaintiffs’ request for a preliminary injunction.

                                          BACKGROUND

I. Statutory Framework

        Congress enacted ERISA in 1974 “to protect . . . the interests of participants in employee

benefit plans and their beneficiaries,” finding that such plans were vital to “the continued well-being

and security of millions of employees” and “an important factor affecting the stability of

employment.” 29 U.S.C. § 1001(a), (b). Accordingly, Congress created requirements for “disclosure

and reporting to participants and beneficiaries,” established “standards of conduct, responsibility, and

obligation for fiduciaries of employee benefit plans,” and provided plan participants and beneficiaries

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with remedies for any violation of these requirements. Id. § 1001(b). ERISA “establishes minimum

standards that govern the operation of private-sector employee benefit plans.” 87 Fed. Reg. at 73822.

        As relevant here, section 404 of the Act codified ERISA fiduciaries’ duties of loyalty and

prudence to plan participants and beneficiaries. See 29 U.S.C. § 1104. The statute requires a fiduciary

to “discharge his duties with respect to a plan solely in the interests of the participants and

beneficiaries,” and “for the exclusive purpose of providing benefits to participants and their

beneficiaries.” Id. § 1104(a)(1). Fiduciaries are further obligated to act with the “skill, care, prudence,

and diligence under the circumstances then prevailing” of a prudent person. Id. § 1104(a)(1)(B).

        To further the goals of ERISA, Congress delegated to the Secretary of Labor broad authority

to promulgate “such regulations as he finds necessary or appropriate” and “to carry out” certain

provisions of the Act, including its fiduciary duty requirements. Id. § 1135. The statute does not

further constrain the Secretary’s authority, but recognizes that “among other things,” such regulations

may define terms, prescribe forms, or provide for record keeping or inspection. Id.

II. Regulatory Background

        The Department first promulgated a version of the Investment Duties regulation at issue here

in 1979. See 87 Fed. Reg. at 73839; see also 44 Fed. Reg. 1065 (Jan. 3, 1979). That regulation remained

unchanged for over forty years; during this time DOL issued sub-regulatory guidance to provide

additional interpretation of fiduciary duties under ERISA. See 87 Fed. Reg. at 73823–25.

    A. Pre-2020 Sub-Regulatory Guidance

        DOL has, for nearly three decades, taken the position that ERISA’s obligations of prudence

and loyalty do not forbid the consideration of collateral, non-financial benefits in selecting between

competing investments that serve the plan’s economic interests equally. 87 Fed. Reg. at 73824. This

test, first introduced in sub-regulatory guidance in Interpretive Bulletin (IB) 1994–01, has been




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colloquially referred to as the “tiebreaker” standard. See IB 94–1, 59 Fed. Reg. 32606 (Jun. 23, 1994). 1

The tiebreaker is permitted only where the selected investment has “an expected rate of return at least

commensurate to rates of return of available alternative investments” (with similar risks) and otherwise

comports with factors like “diversification” and “the investment policy of the plan.” 87 Fed. Reg.

at 73824. IB 2008–01 maintained that the tiebreaker standard did not conflict with ERISA’s plain

text. This is because where “two or more investment alternatives are of equal economic value to a

plan,” “ERISA does not itself specifically provide a basis for making the investment choice,” and “the

economic interests of the plan are fully protected” by the fact that the alternatives are economically

equivalent. IB 2008–01, 73 Fed. Reg. 61734, 61735 (Oct. 17, 2008). IB 2015–01 likewise advised that

the use of the tiebreaker standard was consistent with the fiduciary duties of prudence and loyalty and

with ERISA’s exclusive purpose provision.               See IB 2015–01, 80 Fed. Reg. 65135, 65136

(Oct. 26, 2015). Thus, DOL has steadfastly maintained, for at least thirty years, that ERISA fiduciaries

may consider collateral benefits as a tiebreaker.

        The Department has also specifically recognized that fiduciaries’ prudent determination that

an investment is appropriate based solely on economic factors may include the consideration of

“[e]nvironmental, social, and governance issues” that “have a direct relationship to the economic value

of the plan’s investment.” See IB 2015–01, 80 Fed. Reg. at 65136; see also Field Assistance Bulletin

(FAB) 2018–01 at 2, https://perma.cc/HCS2-JBMR (Apr. 23, 2018) (“otherwise collateral ESG

issues” could “present material business risk or opportunities” and in such situations “should be

considered by a prudent fiduciary along with other relevant economic factors”). IB 2015–01 explained

that where ESG issues themselves present economic considerations, they “are not merely collateral




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  Even before IB 1994–01, DOL issued advisory opinions and letters stating that fiduciaries could
take into account factors unrelated to investment return only if the selected investments’ financial
prospects were “equal or superior” to available alternatives. See 59 Fed. Reg. at 32606–07.
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considerations or tie-breakers,” but rather “proper components of the fiduciary’s primary analysis of

the economic merits.” 80 Fed. Reg. at 65136. In recognizing that ESG factors could, where

appropriate, be treated as relevant economic considerations, DOL emphasized the need to “always

put first the economic interests of the plan.” FAB 2018–01 at 2.

        DOL has also long held that managing proxy voting and other exercises of shareholder rights

fall within ERISA fiduciaries’ responsibilities, and that such acts are subject to the duties of loyalty

and prudence. See 87 Fed. Reg. at 73825. In IB 1994–02, the Department explained that fiduciaries

were permitted to “engage in shareholder activities intended to monitor or influence corporate

management” if, “taking into account the costs involved,” the fiduciary reasonably expected that these

activities would “enhance the value of the plan’s investment in the corporation.” Id.; see also IB 1994–

02, 59 Fed. Reg. 38860 (July 29, 1994). IB 2008–02 confirmed that fiduciaries are charged with

managing voting rights associated with plan assets that are shares of corporate stock. IB 2008–02,

73 Fed. Reg. 61732, 61732 (Oct. 17, 2008). IB 2008–02 stated that this responsibility included both

voting and decisions not to vote, explained that voting decisions must be made solely based on factors

that relate to the plan’s economic value, and reiterated that the interests of participants and

beneficiaries in their retirement income could not be subordinated to unrelated objectives. See id. It

also recognized that decisions to vote proxies required fiduciaries to balance the economic costs and

benefits of voting, and to refrain if the latter did not outweigh the former. See id.

        IB 2016–02 again reiterated that in voting proxies, ERISA fiduciaries must consider “factors

that may affect the value of the plan’s investment” and must “not subordinate the interests of the

participants and beneficiaries . . . to unrelated objectives.” IB 2016–02, 81 Fed. Reg. 95879, 95883

(Dec. 29, 2016). It confirmed that fiduciaries could not “sacrifice investment returns . . . to promote

collateral goals,” and should not vote proxies where “the time and cost . . . may not be in the plan’s

best interest.” Id. at 95881. But it also pointed out that voting proxies may lead to “long-term financial

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benefits,” and that “many proxy votes involve very little, if any, additional expense.” Id.

     B. The 2020 Rules

        In 2020, the Department issued two new rules via notice-and-comment rulemaking that

removed prior sub-regulatory guidance from the Code of Federal Regulations and amended the

Department’s Investment Duties regulation for the first time since its adoption in 1979. See 87 Fed.

Reg. at 73823. The first rule primarily concerned the consideration of ESG factors in selecting

investments; the second concerned proxy voting and other exercises of shareholder rights. See id.; see

also Final Rule, Financial Factors in Selecting Plan Investments, 85 Fed. Reg. 72846 (Nov. 13, 2020)

(2020 Investment Duties Rule); Final Rule, Fiduciary Duties Regarding Proxy Voting and Shareholder

Rights, 85 Fed. Reg. 81658 (Dec. 16, 2020) (2020 Proxy Voting Rule) (collectively, the 2020 Rules).

        The 2020 Investment Duties Rule amended DOL’s Investment Duties regulation in several

ways. Among other things, it required plan fiduciaries to choose investments and investment courses

of action based solely on consideration of “pecuniary factors”—a term not used in ERISA. See 87

Fed. Reg. at 73823; see also 85 Fed. Reg. at 72884. The revised regulation retained the tiebreaker test,

acknowledging that fiduciaries could properly consider collateral factors in breaking a tie. See 85 Fed.

Reg. at 72862. But it stated that the tiebreaker was available only where fiduciaries were “unable to

distinguish” among investments “on the basis of pecuniary factors alone” and imposed novel

documentation requirements. See id. at 72884. It also, for the first time, prohibited adding or retaining

as a qualified designated investment alternative (QDIA)2 any investment fund, product, or model

portfolio that “includes even one non-pecuniary objective in its investment objectives or principal

investment strategies.” 87 Fed. Reg. at 73823; see also 85 Fed. Reg. at 72884. The preamble tied these

changes to ESG investing, stating that “ESG investing raises heightened concerns under ERISA,”



2
 A QDIA is a default investment selection made “in the absence of an investment election by the
participant.” See 29 C.F.R. § 2550.404c–5(a)(1).
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based on the perception that it “may prompt ERISA fiduciaries to make investment decisions for

purposes distinct from providing benefits to participants and beneficiaries.” 85 Fed. Reg. at 72848.

It recognized, however, “that there are instances where one or more [ESG] factors will present an

economic business risk or opportunity” that fiduciaries “would appropriately treat as material

economic considerations.” Id.

        The 2020 Proxy Voting Rule implemented several other changes to the Investment Duties

regulation. Among other things, it stated that ERISA fiduciaries are not required to “vote[] every

proxy or exercise[] every shareholder right.” 85 Fed. Reg. at 81694. As part of the rationale, the

preamble explained that it was “likely” that “many” proxies “related to environmental, social, or public

policy agendas” have “little bearing on share value or other relation to plan financial interests.” Id.

at 81681.   The 2020 Proxy Voting Rule also imposed specific monitoring and recordkeeping

requirements with respect to proxy voting and other exercises of shareholder rights. Id. at 81694.

     C. Executive Orders and Stakeholder Outreach

        Shortly after the promulgation of the 2020 Rules—eight days after the effective date of the

2020 Investment Duties Rule and five days after the effective date of the 2020 Proxy Voting Rule—

President Biden issued Executive Order (E.O.) 13990, which recognized the Nation’s “abiding

commitment to empower our workers and communities” and to “protect our public health and the

environment.” E.O. 13990, 86 Fed. Reg. 7037, 7073 (Jan. 20, 2021). In light of the administration’s

priorities, including “to bolster resistance to the impact of climate change,” the E.O. directed all federal

agencies to review regulations promulgated between January 20, 2017 and January 20, 2021 that might

be inconsistent with these goals and, “as appropriate and consistent with applicable law,” to consider

whether to suspend, revise, or modify those agency actions.3 Id.



3
 A Fact Sheet issued along with E.O. 13990 stated that DOL was to undertake a review of the 2020
Investment Duties Rule. See Fact Sheet, https://perma.cc/3WAW-PZ26 (Jan. 20, 2021).
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       The Department accordingly conducted outreach to, and heard feedback from, “a wide variety

of stakeholders,” including “asset managers, labor organizations, and other plan sponsors, consumer

groups, service providers, and investment advisors” regarding the 2020 Rules.          87 Fed. Reg.

at 73823 n.13, 73825–26. These stakeholders questioned whether the 2020 Rules properly reflected

fiduciary duties of prudence and loyalty. See id. They also questioned whether the 2020 Rules

adequately addressed the “substantial evidence submitted by public commenters” about the use of

ESG considerations “improving investment value and long-term investment returns for retirement

investors,” as well as whether the 2020 Rules were “rushed.” See id. at 73825. The 2020 Rules were

reportedly creating “confusion” among investors about “whether climate change and other ESG

factors may be treated as ‘pecuniary’ factors.” Id. This was, in the eyes of stakeholders, creating a

“chilling effect” on “appropriate integration of climate change and other ESG factors in investment

decisions.” Id. Stakeholders feared that the 2020 Rules placed “a thumb on the scale against the

consideration of ESG factors”—“even when those factors are financially material.” Id. at 73826.

       After hearing some of this feedback, DOL announced that it intended to revisit the 2020 Rules

and, during that reconsideration process, would not enforce the 2020 Rules. See DOL Stmt. re:

Enforcement, https://perma.cc/W6SR-J534 (March 10, 2021). DOL also continued to conduct

stakeholder outreach about the impact of the 2020 Rules. See 87 Fed. Reg. at 73823. The chilling

effect on proper consideration of ESG factors persisted in the non-enforcement period, “including in

circumstances where the current regulation may in fact allow [such] consideration.” Id. at 73825–26.

       A few months after DOL’s non-enforcement statement, the President signed E.O. 14030,

which recognized the financial risks created by the “intensifying impacts of climate change” and the

“global shift away from carbon-intensive energy sources and industrial processes,” along with the

opportunities presented by this “generational shift” to “enhance U.S. competitiveness and economic

growth.” E.O. 14030, 86 Fed. Reg. 27967 (May 25, 2021). The E.O. warned that failure to

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appropriately account for these physical and transition risks “threatens . . . the life savings and pensions

of U.S. workers and families.” Id. Accordingly, the E.O. directed DOL to “consider publishing, by

September 2021, . . . a proposed rule to suspend, revise, or rescind” the 2020 Rules. Id. at 27968–69.

     D. The Investment Duties NPRM and Final Rule

        On October 14, 2021, the Department issued a notice of proposed rulemaking (NPRM) that

proposed several changes and clarifications to the Investment Duties regulation as modified by the

2020 Rules. See generally Proposed Rule, Prudence and Loyalty in Selecting Plan Investments and

Exercising Shareholder Rights, 86 Fed. Reg. 57272 (Oct. 14, 2021). The NPRM noted that, although

the 2020 regulation did not ultimately include explicit references to ESG investing, the preambles to

the 2020 Rules “appeared to express skepticism about fiduciaries’ reliance on ESG considerations.”

Id. at 57275. Stakeholder feedback demonstrated that the regulation as modified had created a chilling

effect on the proper consideration of ESG factors in investment decisions and could “deter fiduciaries

from taking steps that other marketplace investors would take in enhancing investment value and

performance, or improving investment portfolio resilience against the potential financial risks and

impacts often associated with climate change and other ESG factors.” 4 Id. DOL was also concerned

that the regulation “ha[d] created a perception that fiduciaries are at risk if they include any ESG

factors in the financial evaluation of plan investments”—and that “even ordinary exercises of

shareholder rights” might require “special justifications.” Id. at 57275–76. The proposed rule was

intended to address these uncertainties “relating to the consideration of ESG issues” to “help

safeguard the interests of participants and beneficiaries.” Id. at 57276.

        Consistent with this purpose, the NPRM proposed several changes and clarifications to the




4
  The NPRM included an extended discussion of reports and studies describing the extent to which
climate change and other ESG factors may present material financial risks and opportunities for
companies and investors. See 86 Fed. Reg. at 57289–92.
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Investment Duties regulation, including: removing the use of the “pecuniary/non-pecuniary”

distinction due to its “chilling effect on financially beneficial choices”; adding language that the duty

of prudence “may often require an evaluation of the economic effects of climate change and other

ESG factors”; adding to the regulation examples of climate change and ESG factors that may be

material; modifying the tiebreaker test and removing special document requirements “in favor of

ERISA’s generally applicable statutory duty to prudently document plan affairs”; implementing a

disclosure requirement as to the collateral benefits used in the tiebreaker test; removing special rules

that applied to the selection of QDIAs; removing language stating that fiduciaries are not required to

vote every proxy, which could “suggest[] that plan fiduciaries should be indifferent to the exercise of

their rights as shareholders, even if the cost is minimal”; and eliminating new monitoring and

recordkeeping requirements associated with proxy voting activities and other exercises of shareholder

rights. See 87 Fed. Reg. at 73826–27. During a sixty-day comment period, the Department received

more than 895 written comments and 21,469 form petitions regarding these proposals. Id. at 73827.

        The Investment Duties Rule, issued on November 21, 2022, responds to these comments and

adopts some, but not all, of the proposals in the NPRM, with the goal of restoring longstanding

ERISA standards and clarifying that fiduciaries may consider ESG factors in selecting investments or

other investment courses of action where appropriate and consistent with their fiduciary duties. First,

the Rule removes the “pecuniary/non-pecuniary” nomenclature and replaces it with the clear

instruction that fiduciaries’ investment decisions “must be based on factors that the fiduciary

reasonably determines are relevant to a risk and return analysis.” See id. at 73885. Many commenters

supported this change, noting that the use of the term “pecuniary” created confusion as to fiduciaries’

ability to appropriately consider factors that “have a material effect on the bottom line of an

investment” but also “have the effect of supporting non-financial objectives.” Id. at 73833–34. The

Department concluded that replacing this language, and thus eliminating the chilling effect on

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consideration of such factors, was most consistent with ERISA’s requirement that fiduciaries’

investment decisions focus on factors that are “relevant to a risk and return analysis.” Id. DOL found

that this change was consistent with Fifth Third Bancorp v. Dudenhoeffer, 573 U.S. 409 (2014). Id.

        Second, the Rule modifies several proposals in the NPRM to avoid creating the misperception

that the Department was favoring ESG investment strategies over fiduciaries’ considered judgment.

It replaces the proposed language that risk and return factors “may often require” a consideration of

the economic effects of climate change and other ESG factors with the observation that risk and

return factors “may include the economic effects of climate change and other [ESG] factors.” Id.

at 73829–31, 73885. It also specifies that what constitutes a risk-return factor depends on individual

facts and circumstances, and that fiduciaries’ determinations should “appropriately reflect a reasonable

assessment of [any factor’s] impact on risk-return.” Id. at 73885. In addition, the Rule does not adopt

the proposal to add examples of ESG factors to the regulation, which commenters observed might

be incorrectly interpreted as “creating an apparent regulatory bias in favor of particular investments

or investment strategies.” Id. at 73831–32. The preamble states clearly that fiduciaries “remain[] free

under the final rule to determine that an ESG-focused investment is not in fact prudent.” Id. at 73831.

        Third, the Rule modifies the tiebreaker test in a manner consistent with longstanding sub-

regulatory guidance. The regulation now defines the test to permit the consideration of collateral

benefits where competing investments “equally serve the financial interests of the plan over the

appropriate time horizon.” Id. at 73885. This language replaced the requirement that the tiebreaker

apply only where investments are indistinguishable “on the basis of pecuniary factors alone,” which

commenters found confusing and difficult to apply. Id. at 73835–37. As the Rule points out, “ERISA

does not specifically address” situations where “multiple investment alternatives equally serve the

financial interests of the plan.” Id. at 73836. The test is particularly useful where, for example,

choosing among equally financially beneficial investments would avoid “transactional or monitoring

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costs” that could “offset the benefits of investing.” Id. The Rule makes plain that “[f]iduciaries

without a need to break a tie . . . need not use the provision,” and that “nothing in the regulation . . .

requires fiduciaries to look to . . . ESG factors to break the tie.” Id. at 73836.

        Fourth, the Rule eliminates the novel specific documentation requirement added in the

2020 Rule, see id. at 73885, which commenters noted would chill fiduciaries from utilizing the test at

all. Id. at 73836–38. For similar reasons, the Rule does not adopt proposed collateral benefit disclosure

requirements where fiduciaries appropriately utilize the tiebreaker test. Id. at 73839. But DOL

emphasized that these decisions do not alter “a fiduciary’s duty to prudently document . . . tiebreaking

decisions in accordance with section 404 of ERISA.” Id. at 73841.

        Fifth, the Rule removes special requirements regarding the selection of QDIAs. This change

was “overwhelmingly” supported by commenters, who felt that these additional requirements

“effectively preclude[d] fiduciaries from considering QDIAs that include ESG strategies, even where

they were otherwise prudent or economically superior to competing options.” Id. at 73842–43.

        Finally, the Rule adopts the proposals to eliminate regulatory language indicating that the

exercise of fiduciary duties “does not require the voting of every proxy or the exercise of every

shareholder right,” and to eliminate monitoring and recordkeeping requirements related to proxy

voting or other exercises of shareholder rights. Id. at 73843–46. As to the proxy voting language,

commenters agreed with DOL’s concern that it could promote indifference and discourage voting of

proxies even where doing so was in the plan’s financial interest. Id. at 73844–45. As to the monitoring

and recordkeeping requirements, ERISA already “requires proper documentation of the activities of

the investment manager and of the named fiduciary of the plan in monitoring the activities of the

investment manager.” Id. at 73846. Commenters raised concerns, with which the Department agreed,

that a regulation “treating proxy voting and other exercises of shareholder rights differently” could

make these activities seem “disfavored” and suggest that they carry “greater potential liability,” which

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could discourage fiduciaries from voting proxies. Id. The regulation continues to require that, when

exercising shareholder rights, fiduciaries must “[a]ct solely in accordance with the economic interest

of the plan and its participants and beneficiaries”; “[c]onsider any costs involved”; and “[n]ot

subordinate the interests of the participants and beneficiaries . . . to any other objective.” Id. at 73885.

         The majority of the Rule had an effective date of January 30, 2023. 5 See id. at 73886.

III. Procedural History and Plaintiffs’ Claims

         Nearly two months after the Rule was signed, and days before its effective date, on

January 26, 2023, a group of States, an energy company, a trade association representing oil and natural

gas companies, and an individual sued DOL under the Administrative Procedure Act (APA).6 Compl.,

ECF No. 1. Nearly a month later, Plaintiffs moved for a preliminary injunction. Mot., ECF No. 39.

Plaintiffs allege that the Rule exceeds DOL’s statutory authority and is arbitrary and capricious.

                                             ARGUMENT

I. The State Plaintiffs Lack Standing.

         Standing is “an essential and unchanging part of the case-or-controversy requirement of

Article III.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). To establish standing, a plaintiff must

demonstrate (1) “an injury in fact,” (2) “fairly traceable to the challenged conduct,” (3) “that is likely

to be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016);

see also Lujan, 504 U.S. at 561. None of the Plaintiff States’ hodgepodge of standing theories overcomes



5
  On March 1, 2023, Congress passed a joint resolution disapproving of the Investment Duties Rule
pursuant to the Congressional Review Act. See H.J. Res. 30. The President vetoed the resolution,
explaining that the Rule “allows retirement plan fiduciaries to make fully formed investment decisions
by considering all relevant factors that might impact a prospective investment, while ensuring that
investment decisions made by retirement plan fiduciaries maximize financial returns for retirees.”
Veto Message, H.J. Res. 30, https://perma.cc/YJW5-HDVF (Mar. 20, 2023). Congress failed to
override the veto. See Summary, H.J. Res. 30, https://www.congress.gov/bill/118th-congress/house-
joint-resolution/30 (last visited Mar. 28, 2023).
6
    Plaintiffs filed an Amended Complaint on February 28, 2023. Am. Compl., ECF No. 47.
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the fact that they have suffered no cognizable injury. Accordingly, even should the Court determine

that relief is appropriate, no such relief should run to the Plaintiff States.

     A. Loss of General Tax Revenue Cannot Confer Standing.

        Plaintiff States allege they will suffer “injury in the form of diminished tax revenues,” Mot. 16,

and “decrease[d] overall economic activity,” id. at 17. But the Fifth Circuit has squarely held that “loss

of general tax revenues as an indirect result of federal policy is not a cognizable injury in fact.” El Paso

Cty., Texas v. Trump, 982 F.3d 332, 339 (5th Cir. 2020). The reality is that “‘virtually all federal policies’

will have ‘unavoidable economic repercussions.’” Id. at 339 (quoting Pennsylvania v. Kleppe, 533 F.2d

668, 672 (D.C. Cir. 1976)). Accordingly, complaints about such losses are precisely “the sort of

generalized grievance about the conduct of government, so distantly related to the wrong for which

relief is sought, as not to be cognizable for purposes of standing.” Kleppe, 533 F.2d at 672.

        Plaintiffs attempt to frame their allegations as “‘a loss of specific tax revenues’” because “many

of the Plaintiff States treat retirement distributions as State taxable income.” 7 Mot. 16 (quoting

Wyoming v. Oklahoma, 502 U.S. 437, 447–48 (1992)). But “merely speculative” “assertions of future

lost tax revenue” based on overall alleged loss to residents’ retirement funds is not “a loss of a specific

tax revenue.” Wyoming, 502 U.S. at 443–44. The Fifth Circuit rejected essentially the same standing

theory in El Paso County, finding insufficient a county’s allegations of harm from the cancellation of a

construction project due to alleged loss of “generate[d] taxes through workers staying at hotels, buying

supplies, and spending money at local establishments.” 982 F.3d at 338–39; see also Florida v. Mellon,

273 U.S. 12, 17 (1927); City of Oakland v. Lynch, 798 F.3d 1159, 1161–62, 1164 (9th Cir. 2015).




7  Plaintiffs allege that only some Plaintiff States include retirement distributions in income tax
calculations. Mot. 16 n.5. But Alaska, Florida, Tennessee, Texas, and Wyoming do not tax income at
all. Mississippi does not tax income from retirement plans. These States cannot rely on any theory
of injury based on alleged lost income tax revenue, if such a theory were cognizable (which it is not).
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     B. Speculative Injuries to a Handful of Plaintiff States Cannot Confer Standing Generally.

        Plaintiffs also attempt to claim injury based on “reduced investment in the fossil fuel industry,”

which will allegedly lead to reduced revenue in three of the twenty-six Plaintiff States from “oil and

gas extraction on State lands, federal property in those States, or federal waters adjoining those States.”

Mot. 17. But Plaintiffs’ speculative, attenuated theory is not a cognizable harm—and even if it were,

it could only apply to the few States that allege lost revenues based on this theory.

        To support Article III standing, “an injury must be concrete, particularized, and actual or

imminent.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (citation omitted). Imminence

requires that an injury be “certainly impending,” id. (quoting Lujan, 504 U.S. at 565 n.2), or that there is

“at least a ‘substantial risk’ that the injury will occur,” Stringer v. Whitley, 942 F.3d 715, 721 (5th

Cir. 2019). The Supreme Court has “repeatedly reiterated” that “‘[a]llegations of possible future injury’

are not sufficient.” Id. (quoting Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)).

        None of the Plaintiff States alleges any “concrete, particularized,” or “actual” injury. Clapper,

568 U.S. at 409. Rather, Plaintiffs allege at most a “possible future injury,” id., premised on a

“speculative chain of possibilities,” Barber v. Bryant, 860 F.3d 345, 357 (5th Cir. 2017). Plaintiffs assert

that hypothetical fiduciary activity will reduce the economic activity of private companies and,

consequently, certain Plaintiff States may collect lower-than-expected proceeds from those

companies. 8 But, as explained, “incidental and attenuated harm is insufficient to grant a state . . .

standing.” El Paso Cty., 982 F.3d at 341.

        Moreover, where “the plaintiff is not himself the object of the government action or inaction

he challenges, standing . . . is ordinarily ‘substantially more difficult’ to establish.” Summers v. Earth




8 Plaintiffs’ allegations of injury due to “[r]educed investment in the fossil fuel industry” which will
allegedly “decrease employment, adversely impact industries . . . , and decrease overall economic
activity and tax revenue,” Mot. 17, fail for the same reason as their allegations of reduced tax revenue.
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Island Inst., 555 U.S. 488, 493-94 (2009) (quoting Lujan, 504 U.S. at 562). The Supreme Court has

expressly “rejected theories that rest on speculation about the decisions of independent actors” such

as non-party fiduciaries. Clapper, 568 U.S. at 409, 414; see also DaimlerChrysler Corp. v. Cuno, 547 U.S. 332,

344 (2006). By Plaintiffs’ own admission, the actualization of any harm would first require ERISA

fiduciaries independently to decide to “[r]educe investment,” Mot. 17, in unnamed fossil fuel

corporations that extract oil and gas within the relevant Plaintiff States. Yet the Rule does not require

ERISA fiduciaries to reduce investment in the fossil fuel industry—or even to take ESG factors into

account when choosing investments. Rather, the Rule clarifies that fiduciaries can consider ESG

factors when making investment decisions when doing so comports with their fiduciary duties, is

relevant to a risk and return analysis, and is in plans’ best financial interest. Any reduction in

investment in the fossil fuel industry therefore is not fairly traceable to the Rule.

    C. Plaintiff States Cannot Establish Parens Patriae or “Special Solicitude” Standing.

         “[A]s a general matter, a ‘State does not have standing as parens patriae to bring an action

against the Federal Government.’” Gov’t of Manitoba v. Bernhardt, 923 F.3d 173, 176 (D.C. Cir. 2019)

(quoting Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez, 458 U.S. 592, 610 n.16 (1982)); see also

Massachusetts v. Mellon, 262 U.S. 447, 485–86 (1923). Plaintiff States claim an “exception” to this

principle because they are bringing suit “to enforce rights guaranteed by a federal statute.” Mot. 17 n.6

(quoting Louisiana v. Becerra, 2022 WL 4370448, at *5 (W.D. La. Sept. 21, 2022)). This argument cannot

be squared with a longstanding concept that six Fifth Circuit judges recently endorsed: a state cannot

bring constitutional claims “as the parent of its citizens . . . against the Federal Government,” because

the United States is “the ultimate parens patriae of every American citizen.” Brackeen v. Haaland, 994

F.3d 249, 292 n.13 (5th Cir. 2021) (en banc) (op. of Dennis, J.) (quoting South Carolina v. Katzenbach,

383 U.S. 301, 324 (1966)). If states cannot sue the federal government as parens patriae to enforce

constitutional rights, it makes little sense to allow them to do so to enforce statutory rights.

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        Even if Plaintiff States could establish that such an exception exists, they have not asserted a

“quasi-sovereign interest.” Alfred L. Snapp & Son, Inc., 458 U.S. at 602. Plaintiff States summarily

assert standing to sue on behalf of “the health and well-being” of their residents. Mot. 17. But quasi-

sovereign interests “are not . . . private interests pursued by the State as a nominal party,” Alfred L.

Snapp & Son, Inc., 458 U.S. at 602, and Plaintiffs make no attempt to explain how alleged injury to

residents implicates a “quasi-sovereign” interest separate and apart from the residents’ private injury.

        Similarly unavailing is the idea that “Plaintiff States warrant special solicitude” in a way that

materially alters the analysis. Mot. 17 (quoting Texas v. United States, 50 F.4th 498, 514 (5th Cir. 2022)).

In California v. Texas, 141 S. Ct. 2104 (2021), the Supreme Court had little trouble concluding that

states lacked standing—without even mentioning (let alone relying on) “special solicitude.”

Regardless, as discussed, Plaintiffs fail to allege any harm to a “quasi-sovereign interest” distinct from

the alleged harm to private parties. For all these reasons, the State Plaintiffs lack standing.

II. The Extraordinary Remedy of a Preliminary Injunction Is Not Warranted Here.

        “A preliminary injunction is an extraordinary remedy never awarded as of right.” Winter v.

Natural Res. Def. Council, 555 U.S. 7, 24 (2008). “The Fifth Circuit frequently cautions that . . . ‘the

decision to grant a preliminary injunction is to be treated as the exception rather than the rule.’” House

the Homeless, Inc. v. Widnall, 94 F.3d 176, 180 (5th Cir. 1996); see also TXCO ABC/AGC, Inc. v. Perez,

2016 WL 6947911, at *2 (N.D. Tex. Nov. 28, 2016). The party seeking a preliminary injunction bears

the burden to show: (1) “a substantial threat of irreparable injury,” (2) “a substantial likelihood of

success on the merits,” (3) “that the threatened injury if the injunction is denied outweighs any harm

that will result if the injunction is granted,” and (4) “that the grant of an injunction will not disserve

the public interest.” Jordan v. Fisher, 823 F.3d 805, 809 (5th Cir. 2016). A preliminary injunction should

not be “granted unless the party seeking it has clearly carried the burden of persuasion on all four

requirements.” Id. at 221 (citation omitted).

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    A. Plaintiffs Have Not Shown Irreparable Harm.

        Plaintiffs bear a “heavy burden of clearly establishing to the Court irreparable harm,”

Watchguard Techs., Inc. v. Valentine, 433 F. Supp. 2d 792, 794 (N.D. Tex. 2006), which is “[p]erhaps the

single most important prerequisite for the issuance of a preliminary injunction,” 11A Wright, Miller &

Kane, Federal Practice & Procedure § 2948.1 (3d ed. 2013). To show irreparable harm, a party must

demonstrate “a significant threat of injury from the impending action” and “that the injury is

imminent.” Humana, Inc. v. Jacobson, 804 F.2d 1390, 1394 (5th Cir. 1986).

        “Absent a good explanation, . . . delay militates against the issuance of a preliminary injunction

by demonstrating that there is no apparent urgency to the request for injunctive relief.” Massimo Motor

Sports LLC v. Shandong Odes Indus. Co., 2021 WL 6135455, at *2 (N.D. Tex. Dec. 28, 2021) (quotation

omitted); see also Boire v. Pilot Freight Carriers, Inc., 515 F.2d 1185, 1193 (5th Cir. 1975) (three month

delay in filing weighed against granting temporary relief); Crossover Mkt. LLC v. Newell, 2022 WL

1797359, at *1 (W.D. Tex. Jan. 12, 2022) (finding “delay in seeking injunctive relief” alone “fatal”).

Multiple courts have found that the failure to challenge a final rule promptly following its

promulgation, and sufficiently in advance of its effective date, undercut a finding of irreparable harm.

See, e.g., AARP v. EEOC, 226 F. Supp. 3d 7, 22 (D.D.C. 2016); S. Ute Indian Tribe v. Dep’t of the Interior,

2015 WL 3862534, at *1 (D. Colo. Jun. 22, 2015).

        Plaintiffs’ unexplained delay in seeking relief here demonstrates a lack of irreparable harm.

Plaintiffs did not file suit until January 26, 2023—over two months after the Investment Duties Rule

was signed on November 21, 2022, and mere days before its effective date of January 30, 2023. See

87 Fed. Reg. at 73886. They waited nearly another month to file their motion for a preliminary

injunction, see ECF Nos. 31-1, 39, at which point the majority of the Rule had already gone into effect.

Plaintiffs had ample notice as to what the Rule might contain, given that the NPRM was issued more

than a year before. Plaintiffs could have easily sought an injunction before the Rule’s effective date.

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Now, however, the new regulation has been in effect for months, and this request for a preliminary

injunction would “alter the status quo” and is thus held to an “even higher standard.” Texas v. Ysleta

del Sur Pueblo, 2018 WL 1566866, at *9 (W.D. Tex. Mar. 29, 2018). Plaintiffs’ delay in challenging the

Rule and their request to upend the status quo are alone sufficient for the Court to deny the motion.

        Even if the Court were to move past Plaintiffs’ delay, their various alleged harms are

speculative, remote, not attributable to the Rule, or otherwise not cognizable. Plaintiffs principally

rely upon the assertions of Liberty Services and Western Energy Alliance that they are harmed due to

unspecified “additional monitoring costs” they will allegedly voluntarily undertake to “protect against

improper collateral considerations.” Mot. 39. They also assert harm from the alleged potential for

“reduction in interest from investors” in their or their members’ stocks and reduced “access to

capital.” Id.; see also, e.g., Sgamma Decl. ¶¶ 7–8, ECF No. 39-2. But these alleged monitoring costs are

self-inflicted and cannot constitute irreparable harm.9 See, e.g., Salt Lake Trib. Pub. Co. v. AT&T Corp.,

320 F.3d 1081, 1106 (10th Cir. 2003) (“We will not consider a self-inflicted harm to be irreparable[.]”);

11A Wright, Miller, & Kane, Federal Practice & Procedure § 2948.1 (3d ed.) (“Not surprisingly, a party

may not satisfy the irreparable harm requirement if the harm complained of is self-inflicted.”). They

are also speculative and poorly explained: Plaintiffs provide no detail about what kind of monitoring

they might undertake, how much it might cost, or how it differs from their normal activities.

        Moreover, Plaintiffs’ alleged injuries from monitoring or from their companies’ reduced

attractiveness to investors cannot be attributed to the Department. Theories of injury that “rest on

speculation about the decisions of independent actors” are insufficient to demonstrate standing, let

alone irreparable harm. Clapper, 568 U.S. at 409, 414. The Rule states over and over that investment




9
 Because the regulation does not mandate monitoring, this situation is distinguishable from that in BST
Holdings LLC v. OSHA, 17 F.4th 604, 618 (5th Cir. 2021), in which a regulation required businesses
to undertake monitoring of employee vaccinations and testing. Contra Mot. 38–39.
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decisions are subject to the duty of prudence, and that it does not require fiduciaries to select ESG-

focused investments. See, e.g., 87 Fed. Reg. at 73831 (“A fiduciary . . . remains free under the final rule

to determine that an ESG-focused investment is not in fact prudent.”); id. at 73842 (“the selection of

investment options must be grounded in the fiduciary’s prudent risk and return analysis”); id. at 73854

(“The final rule does not require fiduciaries to consider ESG factors[.]”). The Rule expressly avoids

putting a thumb on the scale in favor of or against any type of investment. See id. at 73831. And

although the Rule recognizes that “[r]isk and return factors may include the economic effects of

climate change and other [ESG] factors,” it leaves fiduciaries to prudently determine when that is the

case. Id. at 73885. Investment selections, and their results, are thus solely attributable to fiduciaries.

        To the extent Plaintiffs claim they must undertake voluntary additional monitoring to protect

plan financial gains, those are amply protected by the current regulation. Consistent with ERISA, the

regulation requires that fiduciaries act “solely in the interests of the participants and beneficiaries,”

and “for the exclusive purpose of providing benefits to participants and their beneficiaries.” 29 C.F.R.

§ 2550.404a–1(a). It mandates that investment selections be based on factors that “are relevant to a

risk and return analysis,” id. § 2550.404a–1(b)(4); instructs that “[a] fiduciary may not subordinate the

interests of participants and beneficiaries in their retirement income or financial benefits under the

plan to other objectives”; and forbids fiduciaries from “sacrific[ing] investment return or tak[ing] on

additional risk to promote [unrelated] benefits or goals,” id. § 2550.404a–1(c)(1).          Only where

fiduciaries “prudently conclude[]” that investments “equally serve the financial interests of the plan

over the appropriate time horizon” may they consider “collateral benefits other than investment

returns” as part of a tiebreaker. Id. § 2550.404a–1(c)(2). But fiduciaries cannot “accept expected




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reduced returns or greater risks to secure such additional benefits.” Id.10

         Finally, for the same reasons the State Plaintiffs lack standing, they also have failed to

demonstrate irreparable harm.11 See supra pp. 14–18.

      B. Plaintiffs Have Not Demonstrated a Substantial Likelihood of Success on the Merits.

         1. The Rule Falls Within DOL’s Statutory Authority.

                a. The Rule is within DOL’s broad regulatory authority to carry out ERISA.

         The 2022 Investment Duties Rule is squarely within DOL’s regulatory power to carry out

ERISA and entirely consistent with the Act’s statutory language. Congress delegated authority to the

Department to prescribe regulations under ERISA in a manner that gives it broad flexibility by

empowering the Secretary to “prescribe such regulations as he finds necessary or appropriate to carry

out the [relevant] provisions” of ERISA. 29 U.S.C. § 1135. Congress’s use of the phrase “such

regulations as he finds necessary” shows that it intended to defer to agency expertise, as “Congress

knows to speak in plain terms when it wishes to circumscribe, and in capacious terms when it wishes

to enlarge, agency discretion.” City of Arlington, Tx. v. FCC, 569 U.S. 290, 296 (2013). In an exercise

of this discretion, DOL promulgated a regulation that assists fiduciaries in interpreting the gap in

ERISA’s statutory language and that is consistent with the Department’s longstanding positions.

         ERISA section 404 provides, in relevant part, that “a fiduciary shall discharge his duties with

respect to a plan solely in the interest of the participants and beneficiaries,” and “for the exclusive



10
  Plaintiffs’ insinuation that harm from an alleged ERISA violation is irreparable due to the Act’s
stated goals holds no water. See Mot. 39–40. As Plaintiffs’ own cited case explains, “injunctions
sought under ERISA are subject to the traditional equity analysis, including a finding of irreparable
harm”—which Plaintiffs have not shown. See Gould v. Lambert Excavating, Inc., 870 F.2d 1214, 1221
(7th Cir. 1989); see also Nichols v. Alcatel USA, Inc., 532 F.3d 364, 378 (5th Cir. 2008).
11
  Similarly, Plaintiff Copland’s claim that he is harmed because the Rule is purportedly “contrary to
the clear intent of the exclusive benefit rule,” Mot. 39, is not particularized enough even to support
standing. See, e.g., Lujan, 504 U.S. at 575–78 (no standing to vindicate “the public interest in proper
administration of the laws”).
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purpose of providing benefits to the participants and their beneficiaries” while “defraying reasonable

costs of the plan.” 29 U.S.C. § 1104(a)(1). The regulation, updated by the Rule, restates this language,

see 29 C.F.R. § 2550.404a–1(a), and elaborates upon it. It forbids fiduciaries from “subordinat[ing] the

interests of the participants and beneficiaries in their retirement income or financial benefits . . . to

other objectives,” or from “sacrific[ing] investment return or tak[ing] on additional risk to promote

goals unrelated to the interests of the participants and beneficiaries in their plans.” 29 C.F.R.

§ 2550.404a–1(c)(1). It also prohibits fiduciaries from “accept[ing] expected reduced returns or greater

risks to secure [collateral] benefits.” Id. § 2550.404a–1(c)(2). The Rule thus perpetuates the letter and

spirit of section 404 by making plain that plan participants’ financial interests must be paramount.

        The Rule also recognizes what section 404’s text does not address: a situation in which a

fiduciary is presented with two investment courses of action that are economically equivalent. In that

circumstance, the fiduciary’s duty to act “for the exclusive purpose of providing benefits” to plan

participants does not provide the answer as to which of two equivalent investments to select; each is

equally beneficial from an economic perspective. See 87 Fed. Reg. at 73836. Acknowledging this gap

in the statute, DOL has, for nearly three decades and across five presidential administrations, including

in the 2020 Rule, advised fiduciaries that ERISA does not prohibit looking to collateral benefits where

competing investment alternatives are equally beneficial financially. See supra pp. 4–6, 7.

        The Rule continues this long history by explaining that where “a fiduciary prudently concludes

that competing investments, or competing courses of action, equally serve the financial interests of

the plan over the appropriate time horizon,” that a fiduciary “is not prohibited from” selecting one of

the competing investments “based on collateral benefits other than investment returns.” 29 C.F.R.

§ 2550.404a–1(c)(2). When applying the tiebreaker, the fiduciary must act in accordance with the

duties of prudence and loyalty, see 29 U.S.C. § 1104(a), and cannot engage in prohibited transactions,

see id. § 1106. The need to break a tie may never arise for some fiduciaries. It is necessary, however,

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in certain circumstances, such as where two or more investment alternatives “equally serve the

financial interests of a plan” and investing in more than one would entail additional costs—such as

“transactional or monitoring costs”—that would “offset the benefits” of selecting multiple

investments. 12 87 Fed. Reg. at 73836. Fiduciaries have relied upon the tiebreaker to select investments

in appropriate situations for at least thirty years; its use is in line with the “settled expectations of

fiduciaries.” 87 Fed. Reg. at 73836. And as the Department noted, it is “not aware of plan fiduciaries

struggling with the concept of permissible collateral benefits.” Id. at 73837.

                 b. The plain language of ERISA does not preclude the Department’s interpretation.

         Plaintiffs argue that the plain language of ERISA forecloses the tiebreaker portion of the Rule.

Mot. 18–24. 13 This argument is irreconcilable with DOL’s decades-long endorsement of the tiebreaker

test, including in the 2020 Rule, without challenge. The tiebreaker does not alter fiduciaries’ exclusive

focus on providing financial benefits to participants, consistent with section 404’s plain language,

because it is only available where two competing investments stand to financially benefit plan

participants equally. See 87 Fed. Reg. at 73836. The tiebreaker protects plan participants’ interests in

their retirement income and assists fiduciaries in a situation that section 404 does not address. Id.

         As explained, ERISA’s duty of loyalty requires fiduciaries to act “solely in the interest of . . .

participants and beneficiaries” and “for the exclusive purpose of providing benefits to participants

and their beneficiaries” while “defraying reasonable expenses of administering the plan.” 29 U.S.C.


12
  Plaintiffs are thus incorrect that the solution to a tie is always to “invest in both to diversify the
portfolio.” Mot. 24. Plaintiffs admit that this argument “put[s] aside . . . transaction costs.” Id.
13
   Plaintiffs also contend, briefly, that the decision not to adopt proposed language relating to proxy
voting violates ERISA by permitting fiduciaries to base exercises of shareholder rights on non-
financial factors. Mot. 23. But the regulation states unequivocally that in exercising shareholder rights,
“plan fiduciaries must act solely in accordance with the economic interest of the plan and its
participants and beneficiaries.” 29 C.F.R. § 2550.404a–1(d)(2)(ii)(A). Proxy voting policies must also
be “designed to serve the plan’s interests in providing benefits.” Id. § 2550.404a–1(d)(3)(i). As the
Rule explains, these provisions sufficiently communicate “that ERISA prohibits plan fiduciaries from
expending trust assets to promote myriad public policy preferences.” 87 Fed. Reg. at 73848.
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§ 1104(a)(1). The Supreme Court in Dudenhoeffer held that the term “benefits” in section 404 refers to

“financial benefits (such as retirement income)” and “does not cover nonpecuniary benefits.” 573 U.S.

at 421. Thus, Dudenhoeffer confirms that providing financial benefits is ERISA plan fiduciaries’ sole

purpose. This holding aligns with both DOL’s longstanding instruction regarding tiebreaker situations

and with the Rule at issue here, which restricts the use of the tiebreaker to situations where competing

investments “equally serve the financial interests of [a] plan,” and emphasizes that fiduciaries may

neither “subordinate the interests of participants and beneficiaries in their retirement income,”

“sacrifice investment returns,” nor “take on additional investment risk” in order “to promote benefits

or goals unrelated to [these] interests.” 29 C.F.R. §§ 2550.404a–1(c)(1), (2).

        Nor is the common law in any way incompatible with the tiebreaker test. The common law

duty of loyalty requires that a trustee act “solely in the interest of beneficiaries” and “strictly

prohibit[s]” trustees from “engaging in transactions that involve self-dealing or that otherwise create

a conflict between the trustee’s fiduciary duties and personal interests.” Restatement (Third) of Trusts

§ 78(1), (2) (2007). The commentary explains that “social investing” is inconsistent with the duty of

loyalty “if the investment activity entails sacrificing the interests of trust beneficiaries—for example,

by accepting below market returns—in favor of the interests of persons supposedly benefitted by

pursuing the particular social cause.” Id. § 78, cmt. f (quoting Uniform Prudent Investor Act § 5).

The Rule is entirely aligned; it “emphatically addresses potential loyalty breaches by forbidding

subordination of participants’ financial benefits.” 87 Fed. Reg. at 73853.

                c. The Department’s reasoned interpretation is entitled to deference.

        Under Chevron v. NRDC, 476 U.S. 837 (1984), where Congress has not “directly spoken to the

precise question at issue,” and “the statute is silent,” courts move to Chevron step two, id. at 842–43.

At this step, “if the agency action carries the force of law, courts defer to the agency’s interpretation

of the governing statute,” provided that its interpretation is a “permissible construction.” W&T


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Offshore, Inc. v. Bernhardt, 946 F.3d 227, 234 (5th Cir. 2019) (quoting Exelon Wind 1, LLC v. Nelson, 766

F.3d 380, 392 n.10 (5th Cir. 2014)). Agency action has the force of law where, as here, “Congress

delegated authority to the agency generally to make rules carrying the force of law” and the agency

interpretation was “promulgated in the exercise of that authority.” United States v. Mead Corp., 533

U.S. 218, 226–27 (2001). In such circumstances, courts “must uphold” the agency action “as long as

it is a permissible construction of the statute”—even if that construction “differs from how the court

would have interpreted the statute in the absence of an agency regulation.” Sebelius v. Auburn Reg’l

Med. Ctr., 568 U.S. 145, 158 (2013) (quoting NCTA v. Brand X Internet Serv., 545 U.S. 967, 980 (2005)).

        As explained, ERISA is silent as to what standard fiduciaries should use to guide their

investment decisions where two investment courses of action are financially equivalent. The Court

should thus defer to the agency’s reasonable—and longstanding—use of the tiebreaker standard.

                d. The major questions doctrine does not apply.

        Lastly, the major questions doctrine is inapplicable here. It has been invoked only in “certain

extraordinary cases,” West Virginia v. EPA, 142 S. Ct. 2587, 2609 (2022), which the Supreme Court

has described as involving “decisions of vast economic and political significance,” id. at 2605;

assertions of “extravagant statutory power over the national economy,” id. at 2609; or assertions of

“highly consequential power beyond what Congress could reasonably be understood to have granted,”

id. This Rule—which confirms the Department’s longstanding interpretation of a statute it is charged

with carrying out, while mandating no affirmative action—does not present such a case.

        Saliently, the Rule does not represent a significant departure from the Department’s decades-

old stance, nor does it require ERISA fiduciaries, who are always bound by the duties of prudence and

loyalty, to act in a way that diverges from their historical practices. As explained, the Department has

historically emphasized, and continues to emphasize, that fiduciaries must act solely in the interests of

participants and beneficiaries, and for the exclusive purpose of providing them financial benefits in


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their retirement plans. See, e.g., supra pp. 22–23. Consistent with this requirement, DOL has supported

a version of the tiebreaker rule since the early 1990s, and provided guidance aligned with the principle

even before that. Supra pp. 4–5, 7. Similarly, the Department has, since at least 2015, including in the

2020 Investment Duties Rule, opined that the economic effects of ESG factors were appropriate

considerations in ERISA fiduciaries’ evaluation of investments. Supra pp. 5–6, 8. And the Department

has also long recognized that fiduciaries’ duties extend to the management of proxy voting and other

exercises of shareholder rights, subject to the duties of prudence and loyalty. Supra pp. 6–7.

        What is more, the Rule imposes no new mandatory action on anyone; it instead provides

guidelines that clarify ERISA fiduciaries’ preexisting duties. The Rule leaves any action taken under it

to fiduciaries’ reasoned decisionmaking, tailored to the facts and circumstances, and subject to the

duties of prudence and loyalty, to act in the financial interests of plan participants. See, e.g., 87 Fed.

Reg. at 73831, 73879. Thus, although ERISA certainly applies to thousands of employee benefits

plans, the Rule aligns with “settled expectations” and imposes no new mandates. See id. at 73836.

        The Rule, therefore, does not represent a novel exercise of agency authority, nor does it

impose a mandate like those that prompted the Supreme Court to apply the major questions doctrine

in prior cases. For example, in NFIB v. OSHA, 142 S. Ct. 661 (2022) (per curiam), the Court found

that OSHA, an agency charged with promoting workplace safety by regulating “occupational hazards,”

could not, for the first time in its history, impose a vaccine mandate or weekly testing requirement for

“84 million Americans,” id. at 665. The Court concluded that permitting the agency to regulate the

“hazards of daily life”—“simply because most Americans have jobs and face those same risks while

on the clock”—would “significantly expand OSHA’s regulatory authority without clear congressional

authorization.” Id. Similarly, in FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120 (2000), the

Supreme Court found that the FDA had reversed a more than 75-year history of representing that it

had no authority to regulate tobacco products by determining that nicotine was a “drug” and that

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cigarettes and smokeless tobacco were “devices” subject to FDA’s regulation—despite the fact that

Congress had done nothing to counter FDA’s previous understanding of its authority, id. at 159–60.

        In contrast, the Rule concerns an area DOL has regulated since 1979, comports with decades

of prior Department guidance, and implements clarifying standards, rather than affirmative mandates.

It is in no way the kind of “transformative expansion of . . . regulatory authority” to which the major

questions doctrine might apply. See West Virginia, 142 S. Ct. at 2610.

        2. The Rule Is the Product of Reasoned Decisionmaking.

        Agency action is arbitrary and capricious only where “the agency has relied on factors which

Congress has not intended it to consider, entirely failed to consider an important aspect of the

problem, offered an explanation for its decision that runs counter to the evidence before the agency,

or is so implausible that it could not be ascribed to a difference in view or the product of agency

expertise.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

Under this “highly deferential standard,” Sierra Club v. United States Dep’t of Interior, 990 F.3d 909, 913

(5th Cir. 2021) (quoting Medina Cnty. Env’t Action Ass’n v. Surface Transp. Bd., 602 F.3d 687, 699 (5th

Cir. 2010)), the “court is not to substitute its judgment for that of the agency,” id. (quoting FCC v. Fox

Television Stations, Inc., 556 U.S. 502, 513 (2009)). Rather, the agency’s decision is presumed valid, and

a court considers only whether it “was based on a consideration of the relevant factors and whether

there has been a clear error of judgment.” Citizens to Preserve Overton Park v. Volpe, 401 U.S. 402, 416

(1971). The Rule meets this deferential standard.

                a. The Rule adequately explains its departure from 2020 Rules.

        First, Plaintiffs summarily assert that the Rule is arbitrary and capricious because it “fails to

rebut” statements in the 2020 Rules indicating that “strict regulations are necessary to protect

participants and beneficiaries from financial harm.” Mot. 27 (quoting 85 Fed. Reg. at 72847, 72850).

Plaintiffs’ assertion has no basis.


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        The Rule describes the need for its clarifications in light of the flaws of the 2020 Rules. It

concludes that, rather than protect participants and beneficiaries, the 2020 Rules chilled “ERISA

fiduciaries’ consideration of climate change and other ESG factors in investment decisions, even in

cases where it is in the financial interest of plans to take such considerations into account.” 87 Fed.

Reg. at 73826; see also id. at 73870 (summarizing literature indicating that “ESG [factors] can have a

beneficial impact on investing in many circumstances”).          Indeed, that uncertainty “deter[red]

fiduciaries from taking steps that other marketplace investors take in enhancing investment value and

performance or improving investment portfolio resilience.” Id. at 73826. Thus, the point of the 2022

Rule is that the “strict regulations” in the 2020 Rule were not “necessary to protect participants and

beneficiaries,” Mot. 27; instead, they created the potential to inflict financial harm upon participants

and beneficiaries. The Rule analyzes in detail each individual change made for the purpose of

“clarify[ing] the application of ERISA’s fiduciary duties of prudence and loyalty” in response to “the

chilling effect and other potential negative consequences caused by the [2020 Rules].” 87 Fed. Reg.

at 73826–28 (summarizing changes in Rule); see also id. at 73828–55 (explaining changes in Rule in

detail). Plaintiffs’ assertion that the Rule somehow fails to provide a “‘detailed justification’ for its

decision,” Mot. 28 (quoting Fox, 556 U.S. at 515), is thus untethered from the text of the Rule itself.

                b. The Rule is consistent with its stated rationale.

        Plaintiffs next assert that the Rule “‘cannot be adequately explained’ by its alleged

justification.” Mot. 29 (quoting Dep’t of Com. v. New York, 139 S. Ct. 2551, 2575 (2019)). Plaintiffs do

not explain the alleged “mismatch between the decision . . . and the rationale.” Dep’t of Com., 139

S. Ct. at 2575. Instead, they attempt to discredit the Rule’s references to “chill” and “confusion”

because they say DOL “never identified who specifically was confused, what the source of confusion

was, or that any such confusion or negative perceptions reduced financial returns for participants and

beneficiaries.” Mot. 28.


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        The Rule expressly describes the potential for financial harm to plan participants and

beneficiaries caused by the confusion and deterrent effect that the 2020 Rules created for fiduciaries.

See supra pp. 9–10; see also 87 Fed. Reg. at 73860 (responding to comment that NPRM did not

sufficiently articulate the confusion or who was confused). In particular, the Rule concluded that “the

terms and tone” of the 2020 Rules “could deter plan fiduciaries from: (a) taking into account climate

change and other ESG factors when they are relevant to a risk and return analysis, and (b) engaging

in proxy voting and other exercises of shareholder rights when doing so is in the plan’s best interest.”

87 Fed. Reg. at 73855–56. The Rule’s “clarification of the relevant legal standards is intended to

address these negative [financial] impacts.” Id.

        Plaintiffs also argue that the Rule is “internally inconsistent” because the Department deleted

certain proposed text referencing ESG factors to avoid the “misimpression” that the Rule favored

ESG factors, but simultaneously “left other references to ESG” in the Rule. Mot. 29. Plaintiffs’

premise is nonsensical: The reference or lack of reference to ESG factors is not determinative of a

rule’s overall bias against or in favor of ESG factors. Rather, the Rule must be read in context and as

a whole. And in any event, the Rule specifically explains these choices. 87 Fed. Reg. at 73830–31.

                c. The tiebreaker provision is reasonable.

        Plaintiffs assert that the Rule’s tiebreaker standard—which the Department has supported in

some form for three decades—is unreasonable because the Department does not provide a “financial

reason” for including it. Mot. 30–31. Plaintiffs’ argument ignores both the text of the Rule and the

realities of fiduciary decisionmaking.

        As explained, the novel tiebreaker standard in the 2020 Rules—requiring that fiduciaries be

“unable to distinguish” among competing investments based on “pecuniary factors alone”—“caus[ed]

a great deal of confusion, given that no two investments are the same in each and every respect.” 87

Fed. Reg. at 73837. That standard was thus “both impractical and unworkable.” Id. at 73836. The


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Rule highlighted public comments emphasizing that this tiebreaker standard “effectively subvert[ed]

the fiduciary’s best judgment in favor of a standard that is virtually impossible to meet.” Id. at 73835.

        In response to this confusion, the Department considered simply “eliminating the tiebreaker

test.” Id. at 73878. But ultimately it chose to revert to the traditional tiebreaker test. A workable

tiebreaker test provides fiduciaries with a solution when they must decide between equally appropriate

investments. DOL has long recognized the need for such a solution because, in some cases,

diversifying investments among equally strong options might “entail[] additional costs (such as

transactional or monitoring costs) that offset the benefits of investing in two (or more) investments.”

Id. at 73836. Given that ERISA does not address how to make such a choice, the Rule “leave[s] that

decision in the hands of fiduciaries.” Id. Moreover, “some version of the tiebreaker test has appeared

in the CFR since 1994,” and thus the Rule aligns “with the settled expectations of fiduciaries and

others.” Id. at 73836; see also id. at 73878. Indeed, Plaintiffs themselves recognize the financial benefit

of “stay[ing] with a framework with which [entities] are familiar.” Mot. 37.

        Contrary to Plaintiffs’ assertions, see Mot. 30–31, the Rule expressly addresses “concerns that

the tiebreaker provision might be subject to abuse or not be part of a prudent fiduciary process,” 87

Fed. Reg. at 73826. It confirms that “fiduciaries utilizing the tiebreaker provision remain subject to

ERISA’s prudence requirements,” as well as “the explicit prohibition against accepting expected

reduced returns or greater risks to secure such additional benefits.” Id. The Rule’s safeguarding

provisions also prevent abusive or imprudent behavior by plan fiduciaries. These factors “sufficiently

protect participants’ and beneficiaries’ retirement benefits.” Id.

                d. Authorizing fiduciaries to consider participants’ preferences is reasonable.

        Plaintiffs next object to the Rule’s provision that a fiduciary “does not violate the duty of

loyalty . . . solely because the fiduciary takes into account participants’ preferences” in a manner

consistent with the duty of prudence. 87 Fed. Reg. at 73885. Plaintiffs summarily assert that “[t]here


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is no permissible justification for this change.” Mot. 32. But there is no “change.” The preamble to

the 2020 Investment Duties Rule similarly stated: “Nothing in the final rule precludes a fiduciary from

looking into certain types of investment alternatives in light of participant demand for those types of

investments.” 85 Fed. Reg. 72864.

        Regardless, Plaintiffs entirely ignore the Rule’s explanation of this provision. As the Rule

states, if it “will lead to greater participation and higher deferral rates,” and therefore to “greater

retirement security,” “accommodating participants’ preferences” can be “relevant to furthering the

purposes of the plan.” 87 Fed. Reg. at 73842. Indeed, comments from both asset managers and

individual participants confirmed that “increased participation and increased deferral rates follow from

accommodating such preferences,” and individuals may “roll their savings out of ERISA-protected

plans if the plans cannot satisfactorily accommodate their preferences.” Id. at 73841. The Rule also

confirmed that “plan fiduciaries may not add imprudent investment options to menus just because

participants request or would prefer them.” Id.

        Plaintiffs take issue with the fact that the Rule does not “provide a uniform approach” for

determining participant preferences. Mot. 32. But it was a considered choice to “decline[] to mandate

a uniform methodology.” 87 Fed. Reg. at 73842. The Rule explains that “[n]o commenter had

persuasive answers or recommendations” for a uniform methodology, and it is best to “leave[] these

questions to be decided by plan fiduciaries” given that “ERISA’s fiduciary obligations could compel

plan fiduciaries to disregard participants’ preferences to the extent they are imprudent.” Id.

                e. It was reasonable not to adopt proposed language that imposed additional costs
                   on proxy voting without any added benefit.

        Plaintiffs argue that the Department “did not rely on any permissible factors” in deleting a

phrase from the NPRM after receiving feedback that the phrase unintentionally imposed a costly




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affirmative duty with no added benefit to plan participants. 14 Mot. 32–33. As the Rule explains, the

intended purpose of the deleted clause was “to ensure that a fiduciary does not exercise proxy voting

and other shareholder rights with the goal of advancing nonpecuniary goals” if that exercise “result[ed]

in increased costs to the plan or a decrease in value of the investment.” 87 Fed. Reg. at 73848. But

commenters noted that even “where a particular exercise of a shareholder right would not directly

affect shareholder value, the [deleted clause] could be read to prohibit such exercise.” Id. at 73847.

Other commenters observed that the deleted clause could be read to require that fiduciaries

“undertake a burdensome economic analysis before” exercising such shareholder rights. Id.

         In response, the Department acknowledged that the deleted clause was “easily misconstrued

as suggesting or implying an affirmative duty on plan fiduciaries.” Id. at 73848. Moreover, the

intended purpose of the clause was “already served” by two other paragraphs: the requirement that

fiduciaries act “solely in accordance with the economic interests of the plan” and the requirement that

fiduciaries “not [] subordinate the interests of participant and beneficiaries . . . to any other objectives.”

Id. at 73847–48. Thus, the Department removed the clause because it “serve[d] no independent

function . . . that is not already served” and indeed could be misinterpreted as imposing an additional,

unintended duty and concomitant “costs and potential for litigation.” Id. at 73848.

                  f. It was reasonable to eliminate the tiebreaker documentation requirement.

         Likewise, the Department acted reasonably in removing the 2020 Rules’ special

documentation requirement for the tiebreaker test. The Department rescinded the requirement

because it was “very likely to chill and discourage plan fiduciaries from using the tiebreaker test.” 87

Fed. Reg. at 73837–38. The tiebreaker test is useful because it enables plan fiduciaries to carry out


14The NPRM proposed: “When deciding whether to exercise shareholder rights and when exercising
shareholder rights, plan fiduciaries must . . . [n]ot subordinate the interests of the participants and
beneficiaries in their retirement income or financial benefits under the plan to any other objective, or
promote benefits or goals unrelated to those financial interests of the plan’s participants and beneficiaries.” 86 Fed
Reg. at 57303. The Rule did not adopt the italicized clause. 87 Fed. Reg. at 73847.
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their investment duties under ERISA when deciding between equal competing investments. See

supra pp. 12–13, 30–31. Imposing a new specific documentation requirement risked discouraging its

use in appropriate situations and created needless increased transaction costs on plans. Id. at 73871.

        Moreover, the Department found that existing duties sufficiently protected plan beneficiaries.

The terms of the tiebreaker test itself protect plan participants because it “applies only where

competing investments equally serve the financial interests of the plan.” Id. at 73838. ERISA’s duty

of prudence also renders the documentation requirement “unnecessary” given that “[f]iduciary

documentation of their investment activities already is a common practice.” Id. Indeed, “no

commenter provided contrary evidence demonstrating that ERISA’s general obligations of prudence

are deficient in protecting the interests of plan participants and beneficiaries in this context.” Id. It

was thus harmful to plan participants to mandate documentation that resulted in “increased

transaction costs for no particular benefit to plan participants.” Id.

        Plaintiffs argue that “‘increased transaction costs for no particular benefit to plan participants’”

not only are acceptable but even preferable, because “fiduciaries would simply be required by their duties

of prudence and loyalty not to use the tiebreaker rule.” Mot. 33 (citing 87 Fed. Reg. at 73838). That

argument lacks merit. As DOL concluded, if pointless transaction costs render the tiebreaker test too

costly to use, the solution is to remove those costs. Plaintiffs provide no response, instead asserting

that because there is allegedly “no cognizable interest in using the tiebreaker rule,” no “burden on

using that rule” could be a “cognizable factor.” Mot. 33. But this falls far short of establishing that

the Department was arbitrary and capricious in removing the documentation requirements.

                g. It was reasonable to eliminate the documentation requirements for proxy voting.

        Plaintiffs incorrectly argue that, in removing the 2020 Rules’ recordkeeping requirement for

proxy voting and other exercises of shareholder rights, the Department failed to “weigh[]” competing

“objectives” and did not “attempt[] to show[] that the[] costs are worth the benefits.” Mot. 34. To


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the contrary, the Department weighed competing objectives and made a reasoned decision. The

Department acknowledged “the need for proper documentation of fiduciary activity,” but ultimately

“agree[d] with” commenters’ concerns that the 2020 Rules’ recordkeeping requirement for proxy

voting “could be viewed by some as treating proxy voting and other exercises of shareholder rights

differently from other fiduciary activities,” and thus “may create a misconception that proxy voting

and other exercises of shareholder rights are disfavored or carry greater fiduciary obligations, and

therefore greater potential liability, than other fiduciary activities.” 87 Fed. Reg. at 73846. The Rule

concluded that, despite the benefits of documentation, “this misperception could be harmful” because

“it could potentially chill plan fiduciaries from exercising their rights or result in excessive expenditures

as fiduciaries over-document their efforts.” Id. Indeed, the Rule estimated a savings of $6.1 million

per year relative to the 2020 proxy-voting documentation requirements. Id. at 73874–75.

                h. It was reasonable to remove the 2020 Rules’ specific restrictions on QDIAs.

        Plaintiffs assert that removing the 2020 Rules’ specific restrictions on QDIAs was

“inconsistent and unreasonable.” Mot. 34–35. To the contrary, commenters “overwhelmingly”

agreed that the specific restrictions on QDIAs were themselves unreasonable. 87 Fed. Reg. at 73842.

Rather than protect plan participants, these restrictions “effectively preclude[d] fiduciaries from

considering QDIAs that include ESG strategies, even where they were otherwise prudent or

economically superior to competing options.” 87 Fed. Reg. at 73843. In particular, the restrictions

“disallow[ed] a fund to serve as a QDIA if it, or any of its component funds . . . , has investment

objectives, goals, or principal investment strategies that include, consider, or indicate the use of non-

pecuniary factors in its investment objectives, even if the fund is objectively economically prudent

from a risk-return perspective or even best in class.” Id. The Rule also explained that while QDIAs

do warrant “special treatment,” QDIAs maintain sufficient special treatment through the protections

of the QDIA regulation. 87 Fed. Reg. at 73843.


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                i.   It was reasonable not to adopt the collateral benefit disclosure requirement.

        Plaintiffs incorrectly assert that the Rule “does not clearly state why” it did not adopt the

collateral benefit disclosure requirement that appeared in the NPRM. Mot. 35. Once again, Plaintiffs

ignore the text of the Rule, including the Rule’s express conclusion, lengthy discussion of commenter

concerns, reference to other decisions in the Rule, and reference to ongoing SEC rulemaking.

        There was “limited support for the proposed disclosure requirement” in contrast to

“substantial concerns with the proposed disclosure requirement.”               87 Fed. Reg. at 73839.

Commenters’ “limited support” focused on general desire for transparency, and was largely

conditional on adding additional clarifications and requirements. Id. In contrast, commenters’

concerns were significant and wide-ranging. Commenters noted ambiguity regarding whether the

required disclosure was focused on objective or subjective rationales. 87 Fed. Reg. at 73839–40. Some

considered the disclosure requirement unnecessary because it had no economic significance. Id.

at 73840. Others noted that it could interfere with existing disclosure regulations. Id. at 73840. Still

others expressed concern that it singled out certain factors and strategies, contrary to the principle of

neutrality. Id. at 73840.     Many commenters pointed out the possible litigation risk, including

inadvertent imposition of a per se breach of disloyalty for violating the requirement. Id. at 73840–41.

        The Rule ultimately concludes that “a disclosure emphasizing matters collateral to the

economics of an investment may not be in the best interests of plan participants.” Id. at 73880. The

Rule reached this conclusion based on commenters’ concerns. Id. at 73841. It also cited “reasons

similar to those underlying the decision to remove the documentation requirements from the” 2020

Rules, id., which the Rule discussed at length, id. at 73837–38; see also supra pp. 13, 33–34. Finally, the

Rule noted that DOL was monitoring the SEC’s ongoing rulemaking on disclosures intended to

“allow[] investors to make more informed decisions, including as they compare various ESG

investments,” and that the Department “may revisit the need for collateral benefit reporting or


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disclosure depending on the findings of that agency.” 87 Fed. Reg. at 73841.

        Plaintiffs assert that the removal of the collateral benefit disclosure requirement is “internally

inconsistent.” Mot. 36. As support, Plaintiffs argue that the Rule elsewhere concludes that a different

provision is beneficial because it “may ‘lead to greater participation and higher deferral rates.’”

Mot. 36. But merely because a particular benefit accrues under two different provisions does not

mean DOL must reach the same conclusion regarding both. For the collateral benefit disclosure

requirement, the Rule concluded that despite commenter support indicating that “information about

collateral benefits . . . may impact participant behavior, such as whether to participate,” 87 Fed. Reg.

at 73839, concerns with the requirement outweighed that and other benefits, id. at 73841.

                j.   Sub-regulatory guidance would not have cured defects in the 2020 Rules.

        Plaintiffs assert that the Department failed to consider “leaving 29 C.F.R. § 2550.404a-1

unchanged from its 2020 amendments, and simply issuing sub-regulatory guidance to cure any alleged

chill or confusion.” Mot. 37. But “[w]hile an agency must consider and explain its rejection of

‘reasonably obvious alternative[s],’ it need not consider every alternative proposed nor respond to

every comment made.” 10 Ring Precision, Inc. v. Jones, 722 F.3d 711, 724 (5th Cir. 2013) (quoting Nat’l

Shooting Sports Found., Inc. v. Jones, 716 F.3d 200, 215 (D.C. Cir. 2013)). “Rather, an agency must

consider only ‘significant and viable’ and ‘obvious’ alternatives.” Id. (quoting Nat’l Shooting Sports

Found., Inc., 716 F.3d at 215).

        The core problem with the 2020 Rules is that they “create[d] uncertainty and [had] the

undesirable effect of discouraging ERISA fiduciaries’ consideration of climate change and other ESG

factors in investment decisions, even in cases where it is in the financial interest of plans to take such

considerations into account.” 87 Fed. Reg. at 73826. This confusion was not merely due to ambiguous

phrasing that could have been assuaged by guidance. It was instead caused by contradictory statements

in the preamble, see, e.g., id. at 73826; overly stringent language that effectively precluded certain


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conduct, see, e.g., id. at 73833–34; and mandating documentation that “increased transaction costs for

no particular benefit to plan participants,” see, e.g., id. at 73939. Thus, sub-regulatory guidance—which,

in contrast to legislative rules, “do[es] not have the force and effect of law,” Perez v. Mortg. Bankers

Ass’n, 575 U.S. 92, 97 (2015)—could not have cured the chilling effect of the 2020 Rules. And the

Department is not required to explain why it rejected alternatives that are obviously untenable. See 10

Ring Precision, 722 F.3d at 724.

                k. Plaintiffs cannot impose a novel procedural requirement in excess of the APA.

        Finally, Plaintiffs argue that the Rule is unlawful because the Department allegedly “had

already decided what to do in this rulemaking before it reviewed the public comments.” Mot. 38. But

the Supreme Court has already expressly rejected a variation of Plaintiffs’ “prejudgment” test.

Mot. 37. Little Sisters of the Poor Saints Peter and Paul Home v. Pennsylvania, 140 S. Ct. 2367 (2020),

emphasized the impropriety of imposing procedural requirements in excess of the APA’s mandates.

See id. at 2385. The only relevant consideration when analyzing agency action under the APA is

“whether the [agency] satisfied the APA’s objective criteria.” Id. at 2386. Thus, the Court rejected an

“‘open-mindedness’ test” that would require an agency to “maintain[] an open mind throughout the

[rulemaking] process.” Id. at 2385.

        Contrary to Plaintiffs’ contentions, Mot. 38, it is irrelevant whether the Rule “echoes [the

Department’s] earlier description of its stakeholder outreach, announced before its review of

comments.” See Little Sisters of the Poor, 140 S. Ct. at 2385; see also Biden v. Texas, 142 S. Ct. 2528, 2534

(2022) (“[T]his Court has previously rejected criticisms of agency closemindedness based on an

identity between proposed and final agency action.”). DOL provided adequate notice and opportunity

for comment before promulgating the Rule and included “a concise statement of [its] basis and

purpose.” Id. That is all the APA requires. And in any event, the Rule reflects significant engagement

with comments and includes changes to the NPRM reflecting commenters’ concerns. The Rule also


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discusses and rejects possible alternatives to rescinding the 2020 Rules. 87 Fed. Reg. at 73883–84.

    C. A Preliminary Injunction Would Not Serve the Public Interest.

        Finally, granting Plaintiffs’ requested injunction would not serve the public interest, and the

balancing of the harms strongly favors the government. The Department promulgated the Rule to

protect the interests of American workers in their hard-earned retirement savings. A wide range of

stakeholders—from “asset managers, labor organizations and other plan sponsors” to “consumer

groups, service providers, and investment advisors”—expressed concern about the potential negative

impacts of the 2020 Rules. 87 Fed. Reg. at 73825–26. By “appearing to single out ESG investing for

heightened scrutiny,” the 2020 Rules “ha[d] been interpreted as putting a thumb on the scale against

the consideration of ESG factors, even when those factors are financially material.” Id. at 73826; see

also, e.g., id. at 73854. ERISA fiduciaries, however, must be able to consider all potentially financially

material factors when selecting investments. See id. Any action that discourages consideration of the

economic effects of climate change or other ESG factors could inappropriately disadvantage ERISA

plans by “deterring fiduciaries from taking steps that other marketplace investors would take in

enhancing investment value and performance, or improving investment portfolio resilience against

the potential financial risks and impacts” of climate change or other ESG factors. Id. Because the

Rule removes the perceived thumb on the scale against consideration of ESG factors, and clarifies

that fiduciaries’ investment decisions must be based on any factors relevant to a risk and return

analysis, the Rule is in the interest of ERISA participants and beneficiaries, and the public at large.

        Moreover, the Rule reaffirms standards that ERISA fiduciaries have relied upon for years in

making investment decisions. See id. at 73878, 73879. By altering certain of those standards and

utilizing new language found nowhere in ERISA, the 2020 Rules sowed confusion and risked creating

a chilling effect on appropriate investment activity. See id. at 73825–26. Dissipating this confusion

and providing proper standards to govern ERISA fiduciaries’ actions, consistent with their settled

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expectations, is also in the public interest.

        Plaintiffs point only to their merits arguments to assert that the public interest favors an

injunction. Mot. 40. Because those arguments fail, the balance of harms weighs against Plaintiffs.

III. Any Relief Granted Should Be Appropriately Limited.

        Should the Court see fit to grant any portion of Plaintiffs’ requested injunction—which it

should not—any remedy should be appropriately limited. First, if the Court were to determine that

any portion of the Rule is invalid as to any Plaintiff, it should give effect to its severability clause, see

87 Fed. Reg. at 73886, and tailor any relief narrowly to allow the remainder of the Rule to remain in

effect. See, e.g., Sw. Elec. Power Co. v. EPA, 920 F.3d 999, 1033 (5th Cir. 2019).

        Second, any relief granted should apply only to Plaintiffs with standing—which excludes the

Plaintiff States. See supra pp. 14–18. Because a federal court’s “constitutionally prescribed role is to

vindicate the individual rights of the people appearing before it,” “[a] plaintiff ’s remedy must be

tailored to redress the plaintiff ’s particular injury.” Gill v. Whitford, 138 S. Ct. 1916, 1933–34 (2018).

When a court orders “the government to take (or not take) some action with respect to those who are

strangers to the suit, it is hard to see how the court could still be acting in the judicial role of resolving

cases and controversies.” DHS v. New York, 140 S. Ct. 599, 600 (2020) (Gorsuch, J., concurring).

                                             CONCLUSION

        For the foregoing reasons, Plaintiffs’ motion for a preliminary injunction should be denied.

At a minimum, any relief granted should apply only to any portion of the Rule found invalid, and only

to Plaintiffs who have demonstrated standing.

Dated: March 28, 2023

                                                  Respectfully submitted,

                                                  BRIAN M. BOYNTON
                                                  Principal Deputy Assistant Attorney General



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                                 BRAD P. ROSENBERG
                                 Special Counsel
                                 Federal Programs Branch

                                 /s/ Leslie Cooper Vigen_____
                                 LESLIE COOPER VIGEN
                                 Senior Trial Counsel
                                 CASSANDRA M. SNYDER
                                 Trial Attorney
                                 U.S. Department of Justice
                                 Civil Division
                                 Federal Programs Branch
                                 1100 L Street NW
                                 Washington, DC 20005
                                 (202) 305-0727
                                 leslie.vigen@usdoj.gov

                                 Counsel for Defendants




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 28, 2023, I electronically filed this brief with the Clerk of the

Court for the United States District Court for the Northern District of Texas by using the CM/ECF

system. Counsel in the case are registered CM/ECF users and service will be accomplished by the

CM/ECF system.

                                              /s/ Leslie Cooper Vigen
                                              LESLIE COOPER VIGEN
                                              U.S. Department of Justice
